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                     IN THE UNITED     jüiARICT COURT
                     FOR THE MIDDL11iISTRICT O &LABAMA
                              NORTF      i%I

TYANIS LAWRENCE,                                       c;

        Plaintiff,                                          CASE NO.   r7-cv    11-mI11:pi
                                                   )
V.                                                 )        JURY DEMAND
                                   )
CHRISTOPHER WEST, individually and )
in his official capacity; LOWNDES )
COUNTY SHERIFF'S OFFICE; and the )
LOWNDES COUNTY COMMISSION          )
                                   )
      Defendants.                  )
                                         COMPLAINT

        COMES NOW the Plaintiff, Tyanis Lawrence, pro Se, and hereby doth complain

against the above-named Defendants, as set forth herein-below.

                                I. JURISDICTION AND VENUE

     1. Plaintiff Lawrence files this Complaint, institutes these proceedings, and invokes

        the jurisdiction of this Court under and by virtue of the US Constitution,
                            4th, 81h and 14th Amendments as they pertain to the Defendants
        specifically, the

        engaging in excessive force and brutality under the color of law. The court may

        exercise supplemental jurisdiction over the state law claim of negligence under 28

        U.S. Code § 1367. The Lowndes County Commission is a public corporation and

        the Lowndes County Sheriff acts out      of, and is paid by, the Lowndes County
        Commission. The individuals responsible for the civil rights violations were acting

        under the color of state law, to obtain equitable relief, the costs of suit, and
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   damages suffered by the plaintiff. These claims arise primarily out of the

   Defendant Christopher West's excessive force and brutality against Plaintiff. A

   notice of claim is attached hereto as Exhibit A, and was given to the Lowndes

   County Clerk on June 22, 2016.

2. Venue is proper in the Northern Division of the Middle District of Alabama, since

   the alleged civil rights violation of the plaintiff occurred in Lowndes County,

   Alabama.

                                  II. PARTIES

3. The named Plaintiff, Tyanis Lawrence, is a citizen of the United States and a

   resident of Lowndes County, Alabama. Plaintiff is over the age of nineteen years.

4. During the times and facts relevant to this Complaint, the Defendant Christopher

   West was a deputy sheriff of Lowndes County acting under color of state law, and

   the Defendants Lowndes County Commission and Lowndes County Sheriff's

   Office were also acting under the color of state law. Alternatively, Christopher

   West was acting individually in excess of his authority in violating the

   constitutional rights of the Defendants. These entities and individuals are

   sometimes hereinafter referred to collectively as "Defendants". The Lowndes

   County Commission and Lowndes Sheriff's Office often act in unison as if they

   are one big governmental organization.

                            III. STATEMENT OF FACTS

5. Plaintiff avers that, on or about May 17, 2016, he was present at the Lowndes

   County Courthouse on a bond hearing.
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6. Plaintiff further avers that, as he was about to sit down, he was brutally attacked

   by Lowndes County Deputy Sheriff Christopher West, acting on behalf of the

   Defendant Lowndes County Commission and/or the Defendant Lowndes County

   Sheriff's Office.

7. At said time and place, Defendant West, a member of a Drug Task Force, and

   acting under color of state law, swung his fist at Plaintiff in open court, in front of

   the judge and other members of the public present, and grabbed the Plaintiff by or

   around the neck, and threw Plaintiff to the ground.

8. Other Lowndes County officers, whose names are currently unclear but will be

   added by amendment after discovery when they become known, became involved

   in the attack against the Plaintiff as he was lying on the floor.

9. As a proximate result of this attack, Plaintiff was knocked, shocked, bruised, and

   contused, and needed medical treatment in the jail for his injuries, but received

   little or no treatment other than Tylenol, and has suffered severe emotional and

   mental distress.

10. The Plaintiff further avers that this brazen, open attack in court, unprovoked by

   anything the Plaintiff did, and by no means justifiable in any other way, shocked,

   and continues to shock, the conscience of the community, and is the type of

   wrongdoing for which punitive damages can be, and should be, awarded to send a

   message to the community.

11. (a.) The Plaintiff also avers that the Defendant Christopher West was charged

   criminally for Assault III by the Plaintiff, and tried by Montgomery County


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   assistant district attorneys substituting for the Lowndes County district attorney

   (who claimed a conflict), and that considerable testimony was given by witnesses

   and taken down by a recorder and later transcribed by a court reporter.

   (b.) Notwithstanding the abundance of critical testimony against Defendant West,

   including testimony from the Chief of Police of the City of Hayneville, and others

   who witnessed the attack, Defendant West was found not guilty by a district court

   judge known to be friendly with Defendant Christopher West.

   (c.) Notwithstanding further, the Plaintiff avers that, in a civil case for the civil

   wrongs set forth in this Complaint, the burden of proof in a civil case, namely

   preponderance of evidence, is significantly less than the burden of proof in a

   criminal case, namely guilt beyond a reasonable doubt. Therefore, there is no res

   judicata or collateral estoppel effect to the not guilty verdict.

                IV. PLAINTIFF'S FIRST CAUSE OF ACTION

           42 USC 1983- Deprivation of ri2hts under the color of law

12. Plaintiff hereby repeats, re-alleges, and incorporates by reference paragraphs 5

   through 11 of the Complaint above, the same as if more fully stated herein, and

   further avers that the Defendant's actions toward him violated his right to be free

   from police brutality, and from cruel and unusual punishment, in violation of 42

   USC 1983, and the 4th, 81h and 14th Amendments to the US Constitution.

13. As a proximate cause of Defendant's afore-described actions in brutally beating

   the plaintiff, Plaintiff was injured and damaged, as more fully set forth in




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       paragraphs 5 through 11 above. In addition, Plaintiff has suffered considerable

       mental and emotional anguish.

   14. Plaintiff avers that he has pursued and exhausted his administrative remedies and

       therefore believes himself to be a victim of police brutality and excessive force

       while incarcerated, by and through the Defendants wrongfully arresting, beating,
                                                                         4th ,   8th , and 14th
       and abusing him, in violation of 42 Usc § 1983 and the

       Amendments to the US Constitution. Plaintiff has lost future wages and

       suffered serious mental anguish.

                                 PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

this Court grant the following relief:

       a)     Judgment declaring that the Defendant violated the constitutional rights of

              the plaintiff under the 4th , 8th and 14th amendments;

       b)     An order granting Plaintiff compensation for rights to which Plaintiff would

              have been entitled, had Plaintiff not been the victim of the civil rights

              violations;

       C)     An award of compensatory damages, including for mental anguish, to

              which Plaintiff may be entitled;

       d)     An award of punitive damages against the Defendant West only, due to the

              egregious nature of the 4th, 8" and 14th violations practiced against Plaintiff

              so openly tolerated, ratified and acquiesced in by the Defendant;

       e)     An award of all court costs and reasonable attorney fees


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                   V. PLAINTIFF'S SECOND CAUSE OF ACTION

                                         NEGLIGENCE

    15. Plaintiff hereby repeats, re-alleges, and incorporates by reference paragraphs 1— 14

       of the Complaint above, the same as if more fully stated herein, and further avers

       that the Defendants' actions toward him constituted the tort of negligence under

       the laws of the State of Alabama.

    16. As a proximate cause of Defendant's afore-described actions in brutally beating

       the plaintiff, Plaintiff was injured and damaged, as more fully set forth in

       paragraphs 5 through 11 above. The Defendants had a duty not to use excessive

       force in carrying out their duties, which they breached when the Defendant

       officers, acting on behalf of the Defendant City, sadistically attacked Plaintiff

       Lawrence in open court, and for everyone to see. Plaintiff avers that his injuries

       were legally and proximately caused by the Defendants, which injuries have

       caused Plaintiff Lawrence tremendous harm.

    17. Plaintiff avers that the Defendants were negligent, and wanton, when they made

       the Plaintiff a victim of police brutality and excessive force, when the Defendants

       wrongfully beat and abused him, all in violation of 42 USC § 1983 and his 4th 8th

       and 14th Amendment rights. Plaintiff has lost future wages and suffered serious

       mental anguish.

                                     PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

this Court grant the following relief:


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       a)     Judgment declaring that the defendants were negligent when dealing with

              incarcerated individuals.

       b)     An award of compensatory damages, including for physical injuries and

              mental anguish, to which Plaintiff may be entitled;

       c)     An award of punitive damages against the Defendant West only to send a

              message so that Defendant and the community of the State of Alabama.

       d)     An award of all court costs and reasonable fees; and

       e)     Such further, other and different relief as the Court may deem appropriate

              and necessary.



                                   VI. JURY DEMAND

       Plaintiff hereby requests trial by jury on all issues so triable.




       Respectfully submitted this     /_L/#day of September, 2017.
                                            Tyanis Lawrence, pro se



                                           Xyanis Lawrence
                                           166 Elijah Rudolph Road
                                           Tyler, Alabama 36785

                   INSTRUCTIONS FOR SERVICE OF PROCESS

        The undersigned requests the following individuals be served a copy of this
official complaint:


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The Lowndes County Commission
Lowndes County Courthouse
133 Lafayette St
Hayneville, AL 36040-2073

The Lowndes County Sheriff's Office
Lowndes County Courthouse
133 Lafayette St
Hayneville, AL 36040-2073

Christopher West
Deputy Sheriff
Lowndes County Sheriff's Office
133 Lafayette St
Hayneville, AL 36040-2073
